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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   D.P. et al.,                                         CASE NO.: 21-81099-CIV-CANNON

             Plaintiffs,
   v.

   SCHOOL BOARD OF PALM BEACH
   COUNTY, et al.,

         Defendants.
   ____________________________________/

   DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO FILE CERTAIN EXHIBITS
    TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT UNDER SEAL AND
           INCORPORATED MEMORANDUM OF LAW IN SUPPORT

           COMES NOW the Defendant, the School Board of Palm Beach County, Florida, by and

  through undersigned counsel, and pursuant to S.D. Fla. R. 5.4, hereby moves to file under seal

  select exhibits to depositions in support of Defendant’s Motion for Summary Judgment, and in

  support thereof state as follows:

  1) Defendants anticipate filing their Motion for Summary Judgment on May 17, 2023, and in

        support of their Motion, will file and refer to several depositions and exhibits to those

        depositions taken in the above-referenced matter. Those documents that contain personal

        identifiable information of students or their families, or are considered student educational

        records, medical records, or are documents that contain information that is otherwise legally

        exempt from disclosure are not appropriate for a public filing. It is this select group of

        documents that Defendants seek to file under seal.

  2) The Plaintiffs are students and their parents/guardians, as well as Disability Right Florida, who

        challenge the appropriateness of D.P., W.B., E.S. and M.S.’s transportation from school to a

        mental health receiving facility for an evaluation as a result of mental health crises at school.
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     Per the Courts’ Orders, including the Confidentiality Order (Docket 78), Plaintiffs are

     identified by their initials in the depositions.     However, Plaintiffs’ educational records,

     especially Individual Educational Plans (“IEPs”, were produced unredacted and many of these

     documents were used as exhibits to depositions in this case. It is these confidential student

     education records that Defendants seek to file under seal.

  3) As an educational institution, and current and former employees of an educational institution

     that receives funding from the U.S. Department of Education, Defendants must comply with

     the Family Educational Rights and Privacy Act (FERPA), 20 U.S.C. 1232g. FERPA protects

     the privacy of student educational records. There are only limited situations where an

     educational institution is permitted to disclose student records without the consent of a

     parent/guardian or eligible student (a student over the age of 18). Those limited situations are

     set forth in 34 CFR 99.31, and include allowing disclosure to school officials with a legitimate

     educational interest, allowing disclosure to other schools where a student is transferring, and

     other exceptions that do not apply to this litigation.

  4) As set out in the regulations governing FERPA, a student’s “personally identifiable

     information” is not just specific information about a student such as his or her name, but also

     “[o]ther information that, alone or in combination, is linked or linkable to a specific student

     that would allow a reasonable person in the school community, who does not have personal

     knowledge of the relevant circumstances, to identify the student with reasonable certainty.”

     34 CFR § 99.3.

  5) In addition, as part of the extensive document production process, certain School Police

     incident reports were produced. Although these documents were produced with student names

     and identifying information redacted if they did not involve the Plaintiffs, from the descriptions



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     of the circumstances, the names of the schools, the names of the teachers or administrators

     involved, and the dates of the events, these documents could allow a member of the public to

     potentially identify the student(s) involved. These documents are also considered confidential

     student education records, that Defendants also seek to file under seal.

  6) Defendants seek an Order allowing them to file the following category of documents that

     contain personal identifying information, or are protected from disclosure under FERPA as

     student educational records:

     a) Individual Educational Plans (“IEPs”);

     b) Exceptional Student Education (“ESE”) forms and/or evaluations;

     c) Restraint and Seclusion Incident Reports;

     d) Suicide Risk Assessments; and

     e) Documents that contain information that could identify a student or their family

         members/guardians.

  7) These documents are protected by the Family Educational Rights and Privacy Act (FERPA),

     20 U.S.C. 1232g, and should not be made available to the public in a public filing. A redacted

     copy of the documents, a list of which is attached as Exhibit “A” hereto, will be filed with the

     motion. However, in order for the Court to consider Defendant’s Motion for Summary

     Judgment, Defendant believes it would assist the Court to view an unredacted copy of the

     exhibits to Defendant’s Motion. As such Defendants move for an order allowing these

     documents to be filed under seal.

  8) Undersigned counsel for the Defendants have conferred with Plaintiffs’ counsel regarding the

     instant motion and they do not oppose this filing and have agreed that any documents marked

     confidential can be filed under seal. (See Local Rule 7.1(a)(3) Certificate below).



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         WHEREFORE, the Defendants respectfully request that the Court enter an Order

  authorizing the Defendants to file under seal those exhibits in support of Defendants’ Motion for

  Summary Judgment that are protected from disclosure by FERPA (20 U.S.C. 1232g), and such

  further relief as it deems just and proper.




                              Certificate Pursuant to Local Rule 7.1(a)(3)

           Undersigned counsel for the Defendant conferred with Plaintiffs’ counsel on May 16,

   2023; and Plaintiffs do not oppose the instant motion.



                                    CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on May 16, 2023, the foregoing document served via email

  on all counsel of record.

                                                The School Board of Palm Beach County, Florida
                                                Shawn Bernard, Esquire, General Counsel

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